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11
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12   Facebook, Inc.

13                                 UNITED STATES DISTRICT COURT

14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                        OAKLAND DIVISION

16   WHATSAPP INC., a Delaware corporation,
     and FACEBOOK, INC., a Delaware                Case No. 4:19-cv-07123-PJH
17   corporation,
                                                   DECLARATION OF MICAH G. BLOCK
18                          Plaintiffs,            IN SUPPORT OF PLAINTIFFS’
                                       )           OPPOSITION TO DEFENDANTS’
19           v.                        )           MOTION FOR ENTRY OF
                                       )           PROTECTIVE ORDER
20   NSO GROUP TECHNOLOGIES LIMITED )
     and Q CYBER TECHNOLOGIES LIMITED, )           Date:    September 9, 2020
21                                     )           Time:    9:00 a.m.
                     Defendants.       )
                                       )           Ctrm:    3
22                                                 Judge:   Hon. Phyllis J. Hamilton
                                       )
23                                     )
                                       )
24                                     )           Action Filed: October 29, 2019
                                       )
25                                     )

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 1   I, Micah G. Block, declare as follows:

 2          1.      I am an attorney duly licensed to practice law in the State of California, a member of

 3   the bar of this Court, and a partner with the law firm of Davis Polk & Wardwell LLP, counsel to

 4   Plaintiffs WhatsApp Inc. and Facebook, Inc. (together, “Plaintiffs”), in the above-captioned matter.

 5   I have personal knowledge of the facts set forth below and, if called as a witness in a court of law,

 6   could and would testify competently thereto.

 7          2.      I submit this declaration in support of Plaintiffs’ Opposition to Defendants’ Motion

 8   to Shorten Deadlines for Motion for Entry of Protective Order filed concurrently herewith.

 9          3.      On Tuesday, July 21, 2020, I initiated discussions with opposing counsel regarding a

10   protective order to govern this case by sending a proposed protective order to counsel for

11   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (together,

12   “NSO”). That draft protective order was based on this District’s Model Protective Order for

13   Litigation Involving Patents, Highly Sensitive Confidential Information and/or Trade Secrets

14   (hereinafter the “Model Order”), and in order to facilitate discussions with NSO, I provided a

15   redline comparison to the Model Order along with the draft protective order. On Friday, July 24,

16   2020, NSO provided comments on the draft protective order. By the following Friday, July 31,

17   2020, and after discussing with my clients, I provided a further revised version of the draft

18   protective order to NSO, accepting some but not all of NSO’s proposed revisions. That afternoon,

19   NSO requested a meeting to discuss Facebook’s comments. I responded promptly and the parties

20   agreed to confer on Monday, August 3, 2020.

21          4.      A true and correct copy of the parties’ email exchanges referenced in paragraph 3 is

22   attached as Exhibit A.

23          5.      Also on Friday, July 31, 2020, NSO informed Plaintiffs for the first time that it had

24   “discovery and other important confidential information that bears on discovery to share with

25   [Plaintiffs] on an attorney’s eyes only basis” and that it “need[ed] a protective order to allow [it] to

26   do so.” NSO then proposed that the parties submit an alternative protective order to the Court.

27   NSO’s alternative protective order did not reflect the parties’ prior discussions.

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 1          6.      True and correct copies of the parties’ email exchanges referenced in paragraph 5

 2   are attached as Exhibits B and C. Attached as Exhibit D is a true and correct copy of a redline

 3   comparison reflecting changes between that proposal and the Model Order.

 4          7.      The parties conducted a telephonic meet-and-confer on August 3, 2020. During that

 5   call, Plaintiffs offered to discuss a letter agreement or other temporary accommodation for the

 6   information NSO wanted to provide, but declined to accept NSO’s proposed alternative protective

 7   order. The parties did not discuss NSO’s proposed alternative protective order in any detail.

 8   Plaintiffs explained to NSO that Plaintiffs oppose diverting the parties’ efforts from ongoing

 9   negotiations on a mutually acceptable stipulated protective order and starting over with NSO’s new

10   proposal, including because NSO’s new proposal substantially departs from the Model Order and

11   backtracks on the parties’ negotiations to date. Plaintiffs also proposed that the parties agree to

12   expedite negotiations on a general protective order, and could submit to the Court any remaining

13   disputes after concluding such negotiations. NSO did not accept that proposal. NSO asked if

14   Plaintiffs would oppose a motion to shorten time for briefing on a motion to enter a limited

15   protective order. Plaintiffs stated they would oppose such a motion, but reiterated that they would

16   welcome expediting negotiations on a general protective order. NSO then asked Plaintiffs to

17   explain Plaintiffs’ comments to the draft stipulated order, which Plaintiffs did. Plaintiffs also asked

18   whether NSO’s counsel was prepared during the call to agree to any the Facebook proposals

19   remaining in dispute. NSO’s counsel confirmed they were not.

20          8.      Later on August 3, 2020, NSO filed its Motion for Entry of Protective Order (Dkt.

21   No. 114) and Motion to Shorten Deadlines for Motion for Entry of Protective Order (Dkt. No. 115).

22          9.      On August 6, 2020, NSO notified Plaintiffs that it intended to ask the Court to

23   change the time to oppose Plaintiffs’ motion to compel to a date after September 9, 2020, on the

24   basis of NSO’s assertion that it is unable to share certain information with Plaintiffs in the absence

25   of a protective order. In response, Plaintiffs offered to work with NSO on appropriate protections

26   for that information and noted that such an approach would eliminate the need to disrupt the

27   Court’s briefing on the motion to compel and would moot NSO’s Motion to Shorten Deadlines for

28   Motion for Entry of Protective Order and Motion for Entry of Protective Order. NSO did not
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 1   accept Plaintiffs’ invitation to work to a negotiated solution for the information it wants to share.

 2   Plaintiffs also proposed that the parties should agree to complete their meet-and-confer efforts on

 3   the comprehensive protective order by August 10, 2020. NSO indicated willingness to confer, but

 4   did not agree to a deadline to complete those negotiations.

 5          10.     A true and correct copy of the parties’ email exchanges referenced in paragraph 9 is

 6   attached as Exhibit E.

 7          11.     On August 10, 2020, NSO provided comments on the draft stipulated protective

 8   order. On August 13, 2020, and after discussing with my clients, I provided a further revised

 9   version of the draft protective order to NSO, accepting some but not all of NSO’s proposed

10   revisions.

11          12.     On August 13 and 14, 2020, I spoke with counsel to NSO, Joseph Akrotirianakis,

12   regarding the few remaining disputes in the draft protective order. During those discussions, we

13   agreed to discuss with our clients and further clarify any remaining disputes between the parties in

14   order to bring them before the Court. On August 16 and 17, 2020, the parties discussed further

15   revised versions of the draft. NSO’s counsel also indicated their agreement that, as of a recent

16   draft, “it seems like we were very close on the ‘comprehensive’ protective order.” However, at the

17   time of this writing, the parties had not yet reached final agreement on a stipulated protective order.

18          13.     A true and correct copy of the parties’ email exchanges referenced in paragraphs 11

19   and 12 is attached as Exhibit F.

20          14.     The most recent draft protective order reflecting these discussions is attached as

21   Exhibit G in “comparison” form. This compares a draft Plaintiffs sent to NSO today (August 17),

22   to the most recent draft NSO sent to Plaintiffs (August 11). The language struck through represents

23   NSO’s proposals to which Plaintiffs have not agreed.           The language underscored represents

24   Plaintiffs’ proposals to which NSO has not agreed. I understand that negotiations have brought the

25   parties even closer than this comparison reflects, though both sides have reserved rights while

26   discussing further compromise. By my estimation, very few disputes remain.

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 1          I declare under the penalty of perjury that the foregoing is true and correct.

 2          Executed this 17th day of August 2020 in Redwood City, California.

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                                                By: /s/ Micah G. Block
 4                                                  Micah G. Block
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